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14
                           UNITED STATES DISTRICT COURT
15                        CENTRAL DISTRICT OF CALIFORNIA
16
     TELESIGN CORPORATION,                        Case No. 2:16-CV-02106-PSG-SS
17
                       Plaintiff,                 TWILIO’S REPLY IN SUPPORT OF
18           vs.                                  MOTION TO DISMISS AMENDED
                                                  COMPLAINT
19   TWILIO INC.,
                                                  Honorable Judge Philip S. Gutierrez
20                     Defendants.                Hearing Date: November 14, 2016
                                                  Hearing Time: 1:30 P.M.
21                                                Courtroom: 880
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 1   INTRODUCTION
 2          Pleadings matter. And in particular, complaints matter. The complaint is
 3   (1) the only document that puts the defendant on notice of what it must defend
 4   against and (2) the only document that directs the Court on the proper scope of
 5   discovery.      A vague complaint subjects defendants to discovery fishing
 6   expeditions and the Court to unnecessary discovery disputes. To make use of the
 7   proportionality rules added to the Federal Rules of Civil Procedure last December,
 8   Courts must require the complaint to put the defendant and the Court on notice of
 9   the proper bounds for discovery. The days of just pleading a cause of action and
10   then demanding any document that could lead to potentially admissible evidence
11   are over—yet TeleSign seeks to resurrect those days through its vague complaint.
12          After the initial dismissal, TeleSign provided the proper level of detail in its
13   complaint for most pled causes of action. TeleSign finally named the products that
14   it accused of infringement and adequately set forth plausible facts related to
15   Twilio’s literal infringement. TeleSign even set forth most of its induced direct
16   infringement claim with sufficient details—though still failing to name a single
17   direct infringer. But just as the complaint was getting to the most important parts
18   around inducement and doctrine of equivalents, TeleSign reverted to the old
19   pleading standard and failed to provide the plausible facts required by the Supreme
20   Court. Instead of turning to FRCP 11(b)(3) and admitting that it does not currently
21   have the necessary facts, TeleSign asks this Court to make new law and declare
22   that a patent owner need not make out a complete plausible case of indirect
23   infringement.
24          TeleSign wants this Court to be the first to adopt a partial-proof principle on
25   indirect infringement. TeleSign’s new law would state that as long as the patent
26   owner pleads plausible facts for some claim elements, it need not plead plausible
27   facts for all the claim elements. This standard is wrong under Iqbal/Twombly and
28   its adoption will only serve to allow patent owners to engage in discovery fishing
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 1   expeditions.
 2          If TeleSign does not have facts in its possession today to plead induced
 3   infringement for each element of even a single claim, TeleSign can either drop the
 4   allegation or specifically plead under FRCP 11(b)(3) that while it does not
 5   currently have sufficient evidentiary support, it will likely find it after a reasonable
 6   opportunity of further investigation.1
 7          TeleSign has already indicated that it intends to use its vague complaint as a
 8   lever to open up unlimited discovery. For example, TeleSign included an entire
 9   section in its brief about reserving rights to pursue causes of action not plead in its
10   complaint.     (D.I. 43 at 12.)        Neither Twilio nor the Court has any way of
11   determining what discovery is proportional to this unpled doctrine of equivalents
12   cause of action. Further, TeleSign defends the sufficiency of its complaint by
13   pointing to Twilio’s “Dispatch Notification” product that TeleSign no longer
14   accuses of infringement. So even after being required to drop its vague product
15   names in the first complaint, TeleSign is telegraphing its intention to use the
16   ambiguities in the second amended complaint to continue its broad discovery
17   assault on all Twilio products—named and unnamed.
18          The dispute is narrow at this point. TeleSign can resolve all remaining
19   complaint sufficiency issues by properly addressing (1) the doctrine of equivalents
20   and (2) induced infringement for the following three notification-event elements of
21   Claim 1:
22               maintaining a record of one or more notification events associated
23                  with actions that require acknowledgement by the user;
24               upon receiving an indication of an occurrence of an established
25
     1
26     Elan Microelectronics Corp. v. Apple, Inc., No. C 09-01531 RS, 2009 WL
27   2972374, at *3 (N.D. Cal. Sept. 14, 2009) (requiring Apple to at least articulate
     “some facts as to why it is reasonable to believe there is infringement. Simply
28   guessing or speculating that there may be a claim is not enough.”)
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 1                  notification event, transmitting a message addressed to the verified
 2                  telephone number indicating the occurrence of the notification event;
 3                  and
 4               receiving, from the user, an acknowledgement of an action associated
 5                  with the established notification event.
 6   ARGUMENT
 7   1.     TeleSign still has not shown Twilio acted with specific intent for its
 8   induced infringement claim
 9          TeleSign argues that it need not plead plausible facts to support an element
10   by element infringement analysis and cites to Bill of Lading. But Bill of Lading
11   does not support TeleSign’s argument. Rather, Bill of Lading demonstrates that a
12   complaint must include facts sufficient to prove induced infringement—assuming
13   that the facts are taken as true. And to prove inducement, the plaintiff must prove
14   infringement for each and every element. Thus, to plead sufficient plausible facts
15   for induced infringement, the plaintiff must plead enough facts to satisfy the
16   element-by-element analysis. The Bill of Lading court properly looked across the
17   entire complaint to find facts sufficient to support that type of complete analysis.
18          In this case, the Court can look across TeleSign’s entire complaint and it
19   still will not find facts sufficient to support an induced infringement claim.
20   Further, the Court will not find one reference to FRCP 11(b)(3) or any similar
21   discovery request.
22          Twilio challenged TeleSign’s second amended complaint on three specific
23   claim elements related to notification events:
24               maintaining a record of one or more notification events associated
25                  with actions that require acknowledgement by the user;
26               upon receiving an indication of an occurrence of an established
27                  notification event, transmitting a message addressed to the verified
28                  telephone number indicating the occurrence of the notification event;
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 1                  and
 2               receiving, from the user, an acknowledgement of an action associated
 3                  with the established notification event. See U.S. Patent No. 9,300,792,
 4                  Claim 1
 5          In response, TeleSign could only point to five paragraphs in the complaint
 6   that, when taken as true, allegedly demonstrate induced infringement. (D.I. 43 at
 7   20-21.) The Court can decide the induced infringement issue by looking at just
 8   these five paragraphs.
 9          TeleSign’s five supporting paragraphs, as shown below, point generically to
10   notification activity and avoid the actual detailed claim requirements about
11   “notification events.”      While on the surface, this distinction may seem trivial,
12   TeleSign expressly focused the Patent Office on the importance of its “notification
13   event” over 100 times. (See Declaration of Jay B. Schiller (“Schiller Decl.”), Ex.
14   A IPR2016-00450, Paper 7, Patent Owners Prelim Response (PTAB Apr. 13,
15   2016).) Compare that emphasis to the fact that TeleSign mentioned “notification
16   event” only once for its induced infringement claim.
17          Paragraph One: TeleSign cites to ¶162 in its complaint, which provides:
18   “Twilio continues to provide tutorials that recommend using verifying and
19   registering    techniques     in   combination   with   tutorials   that   recommend
20   notifications.” (emphasis in original). First, courts have dismissed complaints
21   where the plaintiff cited extensively to instructions on a defendant’s website but
22   did not plausibly show that the defendant intended to induce infringement through
23   those instructions. See Straight Path IP Grp., Inc. v. Vonage Holdings Corp., No.
24   14-cv-502, 2014 WL 1266623, at *2 (D.N.J. Mar. 26, 2014). Purely pointing to
25   Twilio’s online tutorials is not sufficient. Second, TeleSign generally addresses
26   “notifications,” but as stated above, the main focus of the claim is directed towards
27   specific manipulations of “notification events.” TeleSign’s paragraph 162 does
28   not plead facts sufficient to show Twilio’s specific intent with regard to the three
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 1   claim elements. For example, where is TeleSign’s fact that, when taken as true,
 2   demonstrates that Twilio’s product is “receiving, from the user, an
 3   acknowledgement of an action associated with the established notification event?”
 4          Paragraph Two: TeleSign next cites to ¶163, which again focuses on
 5   Twilio’s online tutorials “that instruct users to verify, notify, and register users…”
 6   (emphasis in original.) First, citing to Twilio’s online tutorials is not sufficient
 7   under the law.       (D.I. 42 at 16.)   Second, this paragraph does not address
 8   notification events. For example, paragraph 163 does not address “receiving, from
 9   the user, an acknowledgement of an action associated with the established
10   notification event.”
11          Paragraph Three: TeleSign next cites ¶164 where TeleSign bolds and
12   underlines its key evidence: “Dispatch Notification.” (D.I. 40 at 32.) Dispatch
13   Notification is a Twilio product that TeleSign does not accuse of infringement and
14   does not allege is related to authentication. (D.I. 40 at ¶108.) TeleSign did a
15   simple word search for “notification” on Twilio’s website and this reference to an
16   unaccused product was the best TeleSign could find. TeleSign’s reference to an
17   unaccused product that just happens to have the word “notification” in the name is
18   not sufficient to plead induced infringement of any element.
19          Paragraph Four: TeleSign next cites to ¶174, which provides: “Twilio
20   recommends and encourages users to use Authy and Twilio’s REST API to verify
21   and notify users of events to provide additional security . . .” (emphasis in
22   original.) Again, this generic language does not address the very specific
23   requirements in the patent claims.        For example, how does this language
24   demonstrate “receiving, from the user, an acknowledgement of an action
25   associated with the established notification event?”
26          Paragraph Five: As its last proof of induced infringement, TeleSign cites to
27   ¶175. This is the only paragraph that TeleSign points to that mentions the phrase
28   “notification event.” This paragraph, when taken as true, likely satisfies the
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 1   pleading element for one of the three notification-event elements: “maintaining a
 2   record . . .” But paragraph 175 does not address the other two notification-event
 3   elements.      For example, it does not address “receiving, from the user, an
 4   acknowledgement of an action associated with the established notification event.”
 5          In conclusion, TeleSign’s claims focus on notification events and methods
 6   of handling them. TeleSign focused on “notification events” in front of the Patent
 7   Office—mentioning them over 100 times in its arguments for patentability. (See
 8   Schiller Decl., Ex. A IPR2016-00450, Paper 7, Patent Owners Prelim Response, at
 9   1). But to defend its complaint, TeleSign can only point to a single paragraph that
10   mentions “notification events.”        Assuming that TeleSign has the evidence, it
11   should be given one more chance to plead its inducement case around notification
12   events.
13   2. TeleSign should be required to plead infringement by the doctrine of
14   equivalents
15          TeleSign’s amended complaint made it impossible to determine whether
16   TeleSign is pleading DOE. Therefore, Twilio is unable to effectively defend itself
17   because Twilio is unable to discern what—if any—DOE theory is at play in this
18   case. As set forth in the parties briefing, there is a split in the law on this issue and
19   Twilio submits to this Court that under the new pleading standards and in
20   compliance with Iqbal/Twombly, a party should be required to plead DOE.
21             Courts have acknowledged that whether a doctrine of equivalents theory
22   must be explicitly pled after McZeal, Twombly, and Iqbal is a close question, and
23   one that the Federal Circuit has not explicitly answered. Auburn Univ. v. Int'l Bus.
24   Machines, Corp., 864 F. Supp. 2d 1222, 1226 (M.D. Ala. 2012); see also
25   Automated Trans. Corp. v. Bill Me Later, Inc., No. 09–61903–CIV, 2010 WL
26   1882264, at *2 (S.D. Fla. May 11, 2010) (indicating that the Federal Circuit has
27   not explicitly addressed this question). District Courts are split on the issue.
28   Compare EON Corp. IP Holdings LLC v. FLO TV Inc., 802 F. Supp.2d 527, 532
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 1   (D. Del. 2011) (holding that a pleading for direct infringement is sufficient if it
 2   complies with Rule 84 and Form 18 of the Federal Rules of Civil Procedure) and
 3   U.S. Gypsum Co. v. LaFarge N. Am., Inc., 508 F. Supp. 2d 601, 618–620 (N.D. Ill.
 4   2007) (“A plaintiff is not required to expressly refer to the doctrine of equivalents
 5   in a complaint, alleging infringement and citing to [the statute prohibiting
 6   infringement] is sufficient.”) with Automated Transaction Corp., 2010 WL
 7   1882264 at *2 (finding that the Federal Circuit has implied a requirement that a
 8   doctrine of equivalents claim be pled explicitly and allowing plaintiff to amend its
 9   complaint to do so) and Macronix Int’l Co. v. Spansion Inc., 4 F. Supp. 3d 797,
10   804 (E.D. Va. 2014) (recognizing the harm to defendants, courts have struck
11   complaints for this type of insufficient pleading on the doctrine of equivalents) and
12   W.L. Gore & Assocs., Inc. v. Medtronic, Inc., 778 F.Supp.2d 667, 675
13   (E.D.Va.2011) (questioning whether a bare-bones Form 18 pleading of direct
14   infringement encompasses a claim under a doctrine of equivalents theory).
15          TeleSign urges this Court to side with those that reject DOE pleading
16   requirements. As support, TeleSign points to criminal and § 1983 Supreme Court
17   cases. TeleSign’s primary case, Skinner v. Switzer, dealt with a State prisoner’s §
18   1983 suit who had been convicted of capital murder and sentenced to death. 562
19   U.S. 521 (2011). And Johnson v. City of Shelby, which TeleSign asserts is “even
20   more clear and forceful,” was about a group of former police officers who brought
21   a suit against the city, alleging that they were terminated in violation of due
22   process. 135 S. Ct. 346 (2014). These cases could not be further from the canons
23   of patent law and do not relate to a judicially-created cause of action like DOE.
24          The better approach was adopted by Automated Transaction Corp., in which
25   the Court looked to two Federal Circuit cases for guidance (McZeal v. Sprint
26   Nextel Corp., 501 F.3d 1354, 1357 (Fed. Cir. 2007); Boss Control, Inc. v.
27   Bombardier, Inc., 410 F.3d 1372, 1380 (Fed. Cir. 2005)). 2010 WL 1882264 at
28   *2. In Automated Transaction Corp., the Court found that the Federal Circuit
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 1   stated in McZeal that what is required in an infringement complaint “is notice of
 2   what the alleged infringer must defend.” Id. And that based on the reasoning in
 3   McZeal the Plaintiff should be required to amend its Complaint in order to pursue
 4   a claim for infringement by DOE because “the two different theories of
 5   infringement must be included in a pleading to properly inform the alleged
 6   infringer of what it must defend.” Id.
 7          Twilio respectfully requests that this Court also find that an accused
 8   infringer be provided fair notice of the full scope of the patentee’s infringement
 9   accusations, and if a patentee intends to reply on the doctrine of equivalents to
10   prove infringement it must plead infringement under the DOE in its complaint.
11   Twilio further submits that in light of the recent rule changes on the bounds of
12   discovery, requiring a party to plead DOE in its complaint will help frame the
13   scope of discovery and prevent parties from springing DOE on parties at a later
14   date which would allow for unfettered discovery.
15   CONCLUSION
16          TeleSign has the ability to fix its complaint by either pleading additional
17   facts or specifically relying on FRCP 11(b)(3). Either way, the Court and the
18   defendant will benefit significantly from a properly pled case.
19
20   Dated: October 31, 2016                   Respectfully submitted,

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23
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